

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,739






EX PARTE DARRELL WAYNE MORRIS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NOS. 40,931-E IN THE 108TH DISTRICT COURT


FROM POTTER COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for a writ of habeas corpus. Ex
parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of aggravated
assault and possession of a controlled substance. He was sentenced to twelve years' imprisonment
on both counts. The Seventh Court of Appeals affirmed his convictions. Morris v. State, Nos. 07-04-00487-CR &amp; 07-04-00504-CR  (Tex. App.-Amarillo, delivered March 16, 2006, no pet.).  

	Applicant contends that his appellate counsel rendered ineffective assistance because counsel
failed to timely notify Applicant that his convictions had been affirmed and failed to advise him of his
right to petition for discretionary review pro se.  	

	Appellate counsel filed an affidavit with the trial court. Based on that affidavit and the record,
we find that appellate counsel failed to timely notify Applicant that his convictions had been affirmed
and failed to advise him of his right to petition for discretionary appeal pro se. Ex parte Wilson, 956
S.W.2d 25 (Tex. Crim. App. 1997). Accordingly, we find that Applicant is entitled to the opportunity
to file out-of-time petitions for discretionary review of the judgments of the Seventh Court of Appeals
in Cause Nos. 07-04-00487-CR and 07-04-00504-CR that affirmed his convictions in Case Nos.
40,931-E and 48,747-E from the 108th Judicial District Court of Potter County. Applicant shall file
his petitions for discretionary review with the Seventh Court of Appeals within 30 days of the date
on which this Court's mandate issues.


Delivered: August 22, 2007

Do not publish


